              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                  CRIMINAL CASE NO. 1:11cr81


UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                    vs.                    )   ORDER
                                           )
                                           )
RANDY CAROLEINY DELA-CRUZ,                 )
ELVIS PEGUERO PENA,                        )
JULIO EDUARDO INFANTE GOMEZ.               )
                                       )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 35].

     Pursuant to Federal Rule of Criminal Procedure 48(a), the Court will

grant the motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 35] is hereby GRANTED and the Bill of Indictment in this case

as to each Defendant is hereby DISMISSED without prejudice.

                                     Signed: December 8, 2011




    Case 1:11-cr-00081-MR-DLH   Document 36    Filed 12/08/11   Page 1 of 1
